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              IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §      CRIMINAL NO. 4:09-CR-145-Y
                                            §
LETRAVIS TAYLOR (7)                         §

                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

      After reviewing all relevant matters of record, including the

Consent to Administration of Guilty Plea and Federal Rule of

Criminal Procedure 11 Allocution by United States Magistrate Judge

and the Report and Recommendation on Plea Before the United States

Magistrate Judge, and no objections thereto having been filed

within fourteen (14) days of service in accordance with 28 U.S.C.

§ 636(b)(1), the undersigned district judge concludes that the

report and recommendation of the magistrate judge on the plea of

guilty   is   correct,     and   it   is    hereby    accepted    by      the   Court.

Accordingly, the Court accepts the plea of guilty, and defendant is

hereby adjudged guilty. The sentence will be imposed in accordance

with the Court’s sentencing scheduling order.

      SIGNED December 30, 2009.

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                                                TERRY R. MEANS
                                                UNITED STATES DISTRICT JUDGE
